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                 EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 VIRGINIA GIUFFRE,

                        Plaintiff,

        v.

 ALAN DERSHOWITZ,                                    Civil Action No. 1:19-cv-3377 (LAP)

                        Defendant.


 ALAN DERSHOWITZ,                                    [PROPOSED] AGREED PROTECTIVE
                                                     ORDER
               Counterclaim Plaintiff,

        v.

 VIRGINIA L. GIUFFRE,

               Counterclaim Defendant.



       THIS MATTER comes before the Court pursuant to a joint motion by the parties for a

Protective Order, and the Court having considered the motion and other matters of record herein,

and it appearing to the Court and the Court finding that given the nature of the issues in dispute in

this matter and that future discovery or other litigation activity will require the disclosure or use

of information and documentation which contains private and confidential health, financial, and

other information (as defined herein) including protected health information as that term is defined

by the Health Insurance Portability and Accountability Act of 1996 (HIPAA), Public Law 104-

191, 110 Stat. 1936 (1996) as implemented by federal regulation, 45 C.F.R. § 164.501 et seq.; it

further appearing to the Court that the interests of justice require that any such personal,

confidential and protected information which may be produced during discovery or otherwise


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          8.    Each person given access to confidential documents or information pursuant to this

Order shall keep such material strictly secure and shall refrain from disclosing in any manner any

information except as provided by this Order.

          9.    Upon conclusion of this action, including all appeals, the provisions of this Order

shall continue to be binding upon all persons entitled to access under the terms of this Order.

Within sixty (60) days of the conclusion of this action, all confidential documents subject to this

Order and all notes, summaries, copies and extracts from such documents shall be returned to the

producing party or such confidential and protected material shall be certified as having been

destroyed by the party in receipt thereof and such certificate shall be provided to the producing

party or counsel. Upon conclusion of this action, to the extent the Court is in possession of

Confidential Information that was filed under seal, at the request of any party, the Court shall

destroy all such Confidential Information within its possession. All Confidential Information that

has not been returned or destroyed shall remain subject to this Order.

          10.   Nothing in this Order shall preclude the parties from seeking and obtaining, on an

appropriate showing, additional protection with respect to the confidentiality of the documents and

information. Nothing in this Order shall limit a party or its counsel from use as otherwise allowed

by law of its own documents or information or any documents or information obtained outside this

action.

          11.   To the extent that Confidential Information is contained in or attached to materials

filed with this Court or a reviewing court, such materials shall be either redacted or filed under

seal in accordance with Individual Practice Rule 2.H and maintained in a secure location.

Alternatively, any party seeking to file Confidential Information may obtain written permission




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from the producing party to file such material in the public record. No one other than those

authorized by this Order shall have access to such sealed materials.

       12.     Parties shall attempt informally to resolve disputes regarding the confidentiality

designation of information pursuant to this Order, and if informal resolution is not obtained within

five (5) business days, shall apply to the undersigned or other appropriate judicial officer for a

ruling on the dispute within ten (10) business days. Confidentiality shall be maintained until the

dispute is resolved. The party asserting the confidential nature of information shall bear the burden

of persuading the Court that the designated material should be treated as Confidential Information.

       13.     At any time prior to a final decision in this action, any party may file a request to

exempt specific documents from this Order. Documents shall be kept confidential until such time

as a ruling is obtained on the request for exemption.

       14.     If a person or entity in possession of Confidential Information is served with a

subpoena or demand for production of such materials from a court, administrative, legislative, or

other governmental body, the recipient shall give written notice as soon as possible to the attorneys

for the producing party, and in no instance later than five (5) business days after receipt of the

subpoena or demand. In the event that a subpoena or demand purports to require production of

such Confidential Information in less than ten (10) days from the recipient’s receipt of the notice,

the person or entity to whom the subpoena or demand is directed shall give immediate telephonic

notice of the receipt of such subpoena or demand and transmit a copy thereof by facsimile,

electronic mail, or for next day delivery, to the attorneys for the producing party. The person or

entity in possession of such Confidential Information shall, to the extent consistent with law, retain

possession and, where possible, not produce the subject Confidential Information until any attempt

of the producing or disclosing party to have the subpoena or demand quashed or modified by the



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                        Hon. Loretta A. Preska
                        Senior United States District Judge




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